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                                                                         [DO NOT PUBLISH]



                   IN THE UNITED STATES COURT OF APPEALS

                              FOR THE ELEVENTH CIRCUIT
                                ________________________

                                      No. 16-16492
                                ________________________

                       D.C. Docket No. 8:14-cv-01732-VMC-TBM



 NORIS BABB,

                                                                      Plaintiff - Appellant,
                                               versus


 SECRETARY, DEPARTMENT OF VETERANS AFFAIRS,

                                                                      Defendant - Appellee.

                                ________________________

                        Appeal from the United States District Court
                            for the Middle District of Florida
                              ________________________

                                         (July 16, 2018)

 Before ED CARNES, Chief Judge, NEWSOM and SILER,* Circuit Judges.

 PER CURIAM:

 *
  Honorable Eugene E. Siler, Jr., United States Circuit Judge for the Sixth Circuit, sitting by
 designation.
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          This appeal arises from an employment-discrimination action filed by Dr.

 Noris Babb, a pharmacist at the C.W. “Bill” Young VA Medical Center in Bay

 Pines, Florida, against the Secretary of the Department of Veterans Affairs. Babb

 alleges that her managers discriminated against her based on her gender and age,

 retaliated against her because she had engaged in protected EEOC activity, and

 subjected her to a hostile work environment—all in violation of Title VII of the

 Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq., and the Age Discrimination in

 Employment Act of 1967, 29 U.S.C. § § 621 et seq. Babb appeals from the district

 court’s grant of summary judgment in favor of the Secretary.


          Babb raises three issues on appeal. First, she contends that the district court

 erred by applying the McDonnell Douglas standard 1 rather than the more lenient

 “motivating factor” test to her gender- and age-discrimination and retaliation

 claims. Second, she asserts that the district court overlooked genuine issues of

 material fact concerning intent and pretext. And finally, she argues that the district

 court erroneously granted summary judgment on her hostile-work-environment

 claim.

          Having considered the parties’ written briefs and oral arguments, we affirm

 the district court’s grant of summary judgment on Babb’s ADEA claim, her Title


 1
     McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973).


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 VII retaliation claim, and her hostile-work-environment claim. We reverse the

 district court’s grant of summary judgment on Babb’s gender-discrimination claim

 and remand for consideration under the motivating-factor standard.

                                           I

       The facts here are complex—or at least unwieldy. For the sake of clarity,

 we divide our summary into three parts: (a) a description of Babb’s employment

 and responsibilities in the years leading up to her (and others’) complaints about

 alleged gender and age discrimination; (b) a brief description of those complaints;

 and (c) a slightly more extended description of the actions that Babb contends

 constituted unlawful discrimination and/or retaliation, as well as the Secretary’s

 asserted reasons for those actions.

                                           A

       Babb, a clinical pharmacist, joined the Medical Center in 2004. As a clinical

 pharmacist, Babb worked under the auspices of the Medical Center’s Pharmacy

 Services division. In 2006, Babb accepted a position as a geriatrics pharmacist.

 Between 2006 and June 2013, Babb was assigned to an “interdisciplinary team” of

 caregivers in the Medical Center’s Geriatric Clinic. Accordingly, Babb’s work

 scope and responsibilities were governed by a service agreement between

 Pharmacy Services and Geriatric. As a clinical pharmacist working in the Geriatric

 Clinic, Babb was supervised both by Dr. Leonard Williams, Chief of the Geriatric


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 Clinic, and by Pharmacy Services administrators—Dr. Marjorie Howard, Babb’s

 direct Pharmacy Services supervisor; Dr. Keri Justice, Associate Chief of

 Pharmacy; and Dr. Robert Stewart, the Clinical Pharmacy Supervisor.

       In 2009, while a member of the interdisciplinary team, Babb obtained an

 “advanced scope of practice,” which meant that she could practice “disease state

 management” (or “DSM”)—i.e., she could see patients and prescribe medication

 for conditions within the scope of her expertise without consulting a physician.

       In 2010, the VA announced a nationwide initiative called “Patient Aligned

 Care Team” (or “PACT”), which triggered staffing changes at the Medical Center.

 As part of the PACT initiative, the VA established qualifications standards

 pursuant to which pharmacists spending at least 25% of their time practicing DSM

 would be eligible for promotion to GS-13. Because she had an advanced scope

 that enabled her to practice DSM, Babb sought a promotion.

                                          B

       Along the way, Babb and some of her colleagues concluded that Pharmacy

 Services was implementing the new qualifications standards in a way that evinced

 gender and age discrimination. Two other clinical pharmacists at the Medical

 Center, Drs. Donna Trask and Anita Truitt, filed EEO complaints in September

 2011. In April and May 2012, Babb sent emails supporting Trask and Truitt to an

 EEOC investigator, and later, in March 2014, Babb gave a deposition in support of


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 Trask and Truitt. Babb also advocated on her own behalf; in a February 2013

 conversation with Dr. Justice, Babb says that she identified herself as “another

 over 40 female with a grievance” and complained about management’s decision

 (of which more below) not to have her practice DSM anymore. In May 2013,

 Babb filed the EEOC complaint that ultimately led to this suit.

                                           C

       In the fall of 2012, Pharmacy Services and Geriatric began renegotiating the

 services agreement governing Babb’s responsibilities. Babb asked a Pharmacy

 Services supervisor whether she should “do anything” about the negotiations, but

 was told that they would be “taken care of at the Service Chief level and [that she]

 didn’t need to be concerned about it.” Babb later found out that two younger

 pharmacists—Drs. Lindsey Childs and William Lavinghousez—did participate in

 the service-agreement negotiations; Pharmacy Services explained that both were

 infectious-disease specialists and that its representative was unfamiliar with

 infectious-disease treatment protocol and so needed their input.

       Pharmacy Services and Geriatric finalized the new service agreement

 governing Babb’s responsibilities in December 2012. While they considered

 having Babb remain in the Geriatric Clinic, keep her advanced scope, and spend at

 least 25% of her time practicing DSM, they ultimately concluded that such a

 solution was unworkable. In particular, although Dr. Williams wanted to keep


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 Babb in the Geriatric Clinic, he thought that reserving 25% of her time for DSM

 posed two problems: (1) he feared that it would detract from her role as a clinical

 pharmacist and patient caregiver and increase wait times for geriatric patients; and

 (2) he did not think that the DSM model was particularly well suited to geriatric

 patients. Accordingly, Williams determined that the Geriatric Clinic could not

 afford to allow Babb to devote more than three “slots” per day to DSM. Those

 three slots would equate to only about 18.75% of Babb’s time, well short of the

 25% required for promotion under the new PACT-based standards. When it

 became clear that Geriatric would not agree to an arrangement that would permit

 Babb to meet the necessary 25% DSM threshold, Pharmacy Services and Geriatric

 agreed that Babb would not have any scheduled DSM responsibilities but would

 instead perform all of her work as part of an integrated patient-care team.

       Because Babb would no longer practice DSM under the new service

 agreement, she would not need an advanced scope. Accordingly, shortly after the

 new service agreement was finalized, Pharmacy Services management began the

 process of removing Babb’s advanced-scope designation.

       During this same time period, Babb sought opportunities in the Medical

 Center’s anticoagulation clinic. Initially in the fall of 2012, and then again in

 January 2013, Babb requested anticoagulation training so that she could help out in

 the anticoagulation clinic. Pharmacy Services denied both requests on the grounds


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 that the clinic was responsible for training medical residents, that the clinic was

 understaffed and lacked the capacity to train additional people, and that the training

 was unrelated to Babb’s work as a clinical pharmacist in the Geriatric Clinic.

       Separately, in April 2013, Babb applied for two open positions in the

 anticoagulation clinic. A three-member panel conducted interviews for the

 positions and ultimately selected two younger female pharmacists. The

 interviewers explained that the two selected candidates had more anticoagulation

 experience than Babb (who had none) and that Babb had used unprofessional

 language and criticized other Medical Center employees during her interview.

 Babb herself characterized the interview as “the worst interview of [her] life.”

       That same month, Pharmacy Services convened an administrative

 investigation board (“AIB”) to investigate a vulgar letter received by Dr. Gary

 Wilson, Chief of Pharmacy Services. The letter discussed concern over promotion

 practices in pharmacy between GS-11 and GS-13. During the AIB’s investigation,

 Justice testified that Babb had been part of a group of pharmacists known as

 “mow-mows” or “squeaky wheels” who were “never happy, always complaining,”

 and that certain employees perceived that “they were [being] discriminated against

 because they were older and female.” Wilson testified that he believed that Babb

 had “felt that [she was being] discriminated against over age and sex.” The AIB




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 questioned a total of 26 employees; Babb was “really upset” about being one of

 those questioned.

       When Babb learned that she had not been selected for either of the

 anticoagulation positions for which she had interviewed, she filed the EEOC

 complaint that led to this suit in May 2013. She also requested that she be moved

 out of the Geriatric Clinic and into the “float pool,” where she would cover for

 absent staff in a variety of areas. Babb’s position as a floater did not require an

 advanced scope and did not present promotion opportunities. Pharmacy Services

 approved Babb’s request. Soon after Babb began floating in July 2013, Babb’s

 supervisor received two complaints about Babb that had been filed by one of

 Babb’s coworkers. The first asserted that Babb had been rude to a patient, the

 second that Babb had failed to answer her pager. Babb’s supervisor talked to her

 about the complaints, and Pharmacy Services management knew about them, but

 they did not result in any discipline and did not affect Babb’s performance

 appraisal. Babb enjoyed her time in the float pool.

       In early 2014, Babb applied for and was promoted to a PACT position that

 involved work in the hospital’s Module B and Module D. The announcement that

 advertised the job opening read as follows: “Four 9 hour shifts Tuesday through

 Friday 7:00 am – 4:30 pm with a 4 hour shift Saturday 8:00 am-12:00pm. Nights,

 weekends and holiday[s] on a fair and equitable rotational schedule.” In April


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 2014, Justice submitted paperwork to facilitate Babb’s promotion; she marked

 “excellent” on all applicable forms and remarked that Babb was “an excellent

 practitioner with a broad knowledge of clinical pharmacy” and “great with

 patients!” The VA approved Babb’s promotion to GS-13 in August 2014. After

 starting her new job, Babb learned that she was entitled to only four hours of

 holiday pay for each of the five Monday federal holidays. (A traditional schedule

 with five eight-hour weekday shifts would provide eight hours of holiday pay for

 each Monday holiday. ) Babb was “very upset” and said that she would not have

 taken the job if she had known about the holiday-pay issue. The Medical Center

 offered to change Babb’s schedule, but she declined; she testified that due to the

 additional pay she gets for working on Saturdays, she makes more money than

 employees who work eight hours a day Monday through Friday.

                                          II

       Babb sued the Secretary of the Department of Veterans Affairs in July 2014.

 In her complaint, Babb claimed that her managers discriminated against her based

 on her gender and age, retaliated against her because she had engaged in protected

 EEOC activity, and subjected her to a hostile work environment—all in violation

 of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq., and the Age

 Discrimination in Employment Act of 1967, 29 U.S.C. § § 621 et seq.




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         The Secretary filed a motion for summary judgment, which the district court

  granted. The court analyzed the gender- and age-discrimination claims, as well as

  the retaliation claim, under the burden-shifting framework established in

  McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973). With respect to each of

  the claims, the court found (1) that Babb had established a prima facie case, (2)

  that the Secretary had proffered legitimate, nondiscriminatory, non-retaliatory

  reasons for the challenged employment actions, and (3) that no jury could

  reasonably conclude that those reasons were pretextual. On Babb’s hostile-work-

  environment claim, the court held that the remarks about which Babb complained

  were not sufficiently severe and pervasive to create an objectively abusive working

  environment.

                                                III

                                                A

         Babb first contends that the district court erred by applying the McDonnell

  Douglas test, rather than the more lenient motivating-factor test, to her “mixed-

  motive” Title VII gender-discrimination claim. 2 We agree.




  2
    Unlike a “single-motive” claim (sometimes called a “pretext” claim), in which the plaintiff
  alleges that unlawful discrimination was “the true reason” for an adverse employment action,
  Quigg v. Thomas Cty. Sch. Dist., 814 F.3d 1227, 1235 (11th Cir. 2016), a mixed-motive plaintiff
  need only allege that discrimination was “a motivating factor” for the employer’s action, 42
  U.S.C. § 2000e-2; see also Quigg, 814 F.3d at 1235.


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        In Quigg v. Thomas County School District, we held that a plaintiff alleging

  a mixed-motive Title VII discrimination claim need not satisfy McDonnell

  Douglas’s “overly burdensome” standard. 814 F.3d 1227, 1237 (11th Cir. 2016).

  Instead, we concluded that a plaintiff need only offer “evidence sufficient to

  convince a jury that: (1) the defendant took an adverse employment action against

  the plaintiff; and (2) [a protected characteristic] was a motivating factor for the

  defendant’s adverse employment action.” Id. at 1239 (emphasis added) (internal

  quotation marks omitted). Gender discrimination constitutes a motivating factor if

  it “factored into [the employer’s] decisional process.” Id. at 1241.

        The Secretary does not dispute that Quigg’s motivating-factor standard

  applies to Babb’s mixed-motive gender-discrimination claim. Nor does the

  Secretary dispute that the district court failed to apply Quigg’s standard and

  evaluated Babb’s claim under McDonnell Douglas instead. The Secretary asserts,

  however, that Babb waived her mixed-motive claim by failing to allege it

  specifically in her complaint. We disagree. As a plurality of the Supreme Court

  explained in Price Waterhouse v. Hopkins, a plaintiff should not be required to

  label her complaint “as either a ‘pretext’ case or a ‘mixed-motives’ case from the

  beginning in the District Court” because “[d]iscovery often will be necessary

  before the plaintiff can know whether both legitimate and illegitimate

  considerations played a part in the decision against her.” 490 U.S. 228, 247 n.12


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  (1989). Here, Babb sufficiently raised her mixed-motive theory in the district

  court by arguing it in response to the Secretary’s summary judgment motion.

         Rather than determine for ourselves whether Babb’s evidence meets Quigg’s

  motivating-factor standard, we think it more prudent to remand Babb’s gender-

  discrimination claim to the district court for consideration under the proper test in

  the first instance. 3

                                                    B

         Babb next contends that the district court erred in applying the McDonnell

  Douglas framework, rather than the motivating-factor test, to her ADEA age-

  discrimination claim. If we were writing on a clean slate, we might well agree. It

  is true, as the Secretary says, that the Supreme Court held in Gross v. FBL

  Financial Services, Inc., 557 U.S. 167 (2009), that the provision of the ADEA

  applicable to private-sector employees precludes application of a motivating-factor

  standard. In so holding, the Court hewed closely to that provision’s particular text:


  3
    Because we are remanding for reconsideration under the proper motivating-factor standard, we
  should clarify one thing about the district court’s decision. In the course of rejecting Babb’s
  gender- and age-discrimination claims, the court wrote that “the analysis above”—by which it
  meant its examination of Babb’s separate retaliation claim—“demonstrates how each action was
  free of an illegal motive.” In isolation, that “free of an illegal motive” phrase could be
  interpreted to mean that Babb’s evidence would fail even a motivating-factor analysis. But given
  that “the analysis above” to which the district court was pointing focused, under McDonnell
  Douglas, on the question whether Babb had demonstrated pretext—an analysis that Quigg held is
  “fatally inconsistent with the mixed-motive theory of discrimination,” 814 F.3d at 1237—we are
  reluctant to read the district court’s brief remark for all it might possibly be worth. If the district
  court in fact meant to articulate a finding that would satisfy even the motivating-factor standard,
  then it may say so on remand.


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  “It shall be unlawful for an employer ... to fail or refuse to hire or to discharge any

  individual or otherwise discriminate against any individual with respect to his

  compensation, terms, conditions, or privileges of employment, because of such

  individual’s age.” Id. at 176 (quoting 29 U.S.C. § 623(a)(1)) (emphasis added in

  Gross). As the Court’s italics indicate, it focused on the phrase “because of”—

  which, the Court held, requires an age-discrimination plaintiff to prove “that age

  was the ‘reason’ that the employer decided to act,” i.e., “the ‘but-for’ cause of the

  employer’s adverse decision.” Id.

        As Babb has pointed out here, the provision of the ADEA that governs

  discrimination claims brought by federal-sector employees reads differently. In

  pertinent part, and with exceptions not relevant here, it states that “[a]ll personnel

  actions affecting employees or applicants for employment who are at least 40 years

  of age shall be made free from any discrimination based on age.” 29 U.S.C. §

  633a(a) (emphasis added). Babb contends that the federal-sector provision’s

  particular framing—which, quite unlike the private-sector provision, requires that

  employment decisions be made “free from any discrimination” based on age—

  counsels a different result here than in Gross, and should be read to embody a

  motivating-factor (rather than but-for) causation standard. Although Babb’s

  argument is not insubstantial, it is foreclosed by our existing precedent.




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        In Trask v. Secretary, Department of Veterans Affairs, this Court applied the

  McDonnell Douglas standard to an ADEA claim brought by two federal-

  government employees—indeed, two employees who worked at the same facility

  where Babb worked and made many of the same allegations that Babb has made

  here. 822 F.3d 1179, 1191 (11th Cir. 2016). Under the prior-panel-precedent rule,

  Trask is binding on us. See, e.g., Breslow v. Wells Fargo Bank, 755 F.3d 1265,

  1267 (11th Cir. 2014) (“It is the firmly established rule of this Circuit that each

  succeeding panel is bound by the holding of the first panel to address an issue of

  law, unless and until that holding is overruled en banc, or by the Supreme Court.”).

  It is true, as Babb says, that the panel in Trask did not analyze the linguistic

  differences between the ADEA’s private- and federal-sector provisions—

  differences that she claims make all the difference. Even so, we have long—and

  consistently, and forcefully—rejected an “overlooked reason” (or “overlooked

  argument”) exception to the prior-precedent rule. See, e.g., Smith v. GTE Corp.,

  236 F.3d 1292, 1302–03 (11th Cir. 2001).

        Accordingly, under Trask, the district court did not err in applying the

  McDonnell Douglas test to Babb’s ADEA age-discrimination claim. And under

  that standard, we can find no reversible error in the district court’s decision. In

  particular, we hold that the district court correctly concluded that Babb failed to

  demonstrate that the Medical Center’s proffered reasons for the adverse


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  employment decisions that she alleges were pretextual and that the “real” reason

  for those decisions was because Babb was too old. There are four primary adverse

  employment decisions that Babb says were made against her because of her age:

  (1) removal of her advanced scope; (2) non-selection for anticoagulation; (3) denial

  of training opportunities; and (4) provision of only four hours of holiday pay under

  her new Module B schedule. We consider each in turn.

         Addressing Babb’s claim that her advanced scope was removed for

  discriminatory reasons, the Secretary proffered testimony from Dr. Williams, the

  decision-maker who removed Babb’s advanced-scope designation, explaining a

  nondiscriminatory reason for the decision. Williams testified that he decided that

  Babb would no longer practice DSM—thereby eliminating her need for an

  advanced scope—because geriatric patients presented such complex medical cases

  that it would be in patients’ best interest for care to be provided by

  interdisciplinary medical teams rather than by independent pharmacists practicing

  DSM. Babb quarrels with Williams’ choice to remove DSM from her schedule in

  the Geriatric Clinic, but her arguments reduce to criticism of Williams’ business

  judgment. Under the McDonnell Douglas framework, to successfully rebut an

  employer’s proffered nondiscriminatory reason for making a business decision, a

  plaintiff must “meet that reason head on and rebut it, and the employee cannot

  succeed by simply quarreling with the wisdom of that reason.” Chapman v. AI


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  Transp., 229 F.3d 1012, 1030 (11th Cir. 2000) (en banc). Here, Babb fails to

  tackle Williams’ proffered nondiscriminatory reason “head on” to prove that a

  choice to provide interdisciplinary care to frail geriatric patients is not, in fact,

  what motivated Williams’ decision.

        Addressing Babb’s non-selection for the anticoagulation position, Babb

  argues that age discrimination underlay the Medical Center’s hiring of two younger

  pharmacists. The Secretary offered evidence of the Medical Center’s

  nondiscriminatory reasons: (1) that the selected pharmacists were more

  experienced than Babb and (2) that Babb performed poorly in her interview,

  offering inadequate answers to medical questions and making disparaging remarks

  about coworkers. Babb does not meaningfully contest the Secretary’s assessment

  that she interviewed poorly for the anticoagulation position; in fact, she

  acknowledged that her interview was the worst of her life. Babb does contest the

  conclusion that she was less qualified for the positions than the chosen

  pharmacists. But while it may be (as Babb argues) that her experience was

  different from the selected pharmacists’, it was not necessarily better than theirs.

  The fact is that the hired pharmacists had anticoagulation experience that Babb

  lacked, and a reasonable employer could rely on that particular experience in

  making an anticoagulation hiring decision, as the Secretary contends occurred

  here. Babb has failed to prove that that the Secretary’s proffered explanations for


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  her non-selection are pretextual and that age discrimination is the real reason she

  was passed over.

        Addressing Babb’s assertion that she was unlawfully denied access to

  training opportunities, the Secretary offers testimony from Dr. Howard and Dr.

  Stewart to explain nondiscriminatory reasons for those denials. Dr. Howard

  testified that she denied Babb’s request to attend a two-day geriatrics training

  because (1) the registration deadline had passed by the time Babb requested

  permission to attend the training, (2) Babb was responsible for caring for patients

  in the Geriatric Clinic at the time of the training, and (3) Howard believed that

  Babb already possessed a good understanding of the subject matter being taught at

  the training. Dr. Stewart testified that at the time Babb’s request for

  anticoagulation training was denied, the anticoagulation department was busy,

  understaffed, and already burdened with the responsibility of training medical

  residents. Babb attempts to demonstrate that these proffered nondiscriminatory

  reasons for denials of training are pretextual by pointing out other individuals at

  the Medical Center who were provided with special training opportunities, but the

  fact that other individuals received some special training does not prove that the

  real reason that Babb’s requested training was denied was discriminatory—i.e., it

  does not meet the Secretary’s explanation “head on.”




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        Finally, addressing Babb’s claim regarding discrimination in the

  administration of holiday pay in her Module B position, the Secretary has

  explained that holiday pay is tied to Babb’s Module B schedule. Babb is scheduled

  to work nine-hour shifts Tuesday through Friday with a four-hour shift every

  Saturday; because Babb is never scheduled to work on a Monday, her Monday

  holiday pay is calculated by referencing back to her most recent work day, a four-

  hour Saturday shift. Babb admitted that she earned more money on her Tuesday-

  Saturday schedule (even with her holiday pay complaints) than she would have

  earned on a traditional Monday-Friday schedule with eight hours of holiday pay

  for each Monday holiday. When Babb complained about her holiday pay, the VA

  offered to permanently move her to a traditional Monday-Friday schedule that

  would entitle her to eight hours of holiday pay for each Monday holiday, but Babb

  refused the offer. Babb has failed to rebut the Secretary’s nondiscriminatory

  explanation for Babb’s holiday pay—namely, that it was calculated in relation to

  her Tuesday-Saturday schedule.

        The Secretary has provided nondiscriminatory reasons for adverse

  employment decisions about which Babb has complained. Babb has failed to

  adequately rebut those nondiscriminatory reasons—to meet them “head on”— and

  prove that they are pretextual. Thus, under McDonnell Douglas, we affirm the

  district court’s order of summary judgment on Babb’s age discrimination claim.


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                                             C

        Babb similarly asserts that the district court erred in applying McDonnell

  Douglas—again, rather than the motivating-factor test—to her retaliation claim.

  And again, if we were starting from scratch, we might agree. But again, we are

  not, and so we cannot.

        In University of Texas Southwest Medical Center v. Nassar, 570 U.S. 338

  (2013), the Supreme Court held (following the rationale of its earlier decision in

  Gross) that Title VII’s private-sector retaliation provision requires a but-for, rather

  than motivating-factor, causation standard. As it had done in Gross, the Court

  emphasized the provision’s use of the phrase “because”—in particular, its

  prohibition of any discrimination “because” an employee has engaged in protected

  EEO activity. See id. at 352 (quoting 42 U.S.C. § 2000e-3(a)). “Given the lack of

  any meaningful textual difference between the text in this statute and the one

  in Gross,” the Court held, “the proper conclusion here, as in Gross, is that Title VII

  retaliation claims require proof that the desire to retaliate was the but-for cause of

  the challenged employment action.” Id.

        But, Babb asserts—as she does in connection with her ADEA claim—the

  language of Title VII’s federal-sector anti-retaliation provision is different. Almost

  exactly like its ADEA analogue, it states that personnel decisions (again, with

  exceptions not relevant here) “shall be made free from any discrimination based on


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  … sex ….” 42 U.S.C. § 2000e-16(a). Babb insists that the absence of the

  “because” language that drove the result in Nassar, combined with the presence of

  the broad phrase “free from any discrimination,” requires application of a

  motivating-factor, rather than but-for, causation standard.

         Again, though, our earlier decision in Trask stands in Babb’s way. There,

  citing both Title VII’s private-sector anti-retaliation provision and Nassar, we

  held—again, in a case involving federal-government employees—that the

  McDonnell Douglas test and a but-for causation standard applied. And for reasons

  already explained, it is no answer to Trask that the panel there did not engage the

  linguistic differences between the private- and federal-sector anti-retaliation

  provisions. We are bound just the same.

         Accordingly, we are constrained to hold that the district court did not err in

  applying the McDonnell Douglas framework to Babb’s retaliation claim. And

  under that standard, we cannot say that the district court was wrong to grant

  summary judgment to the Secretary. In particular, we hold that the district court

  correctly concluded that Babb failed to demonstrate that the Medical Center’s

  proffered reasons for the adverse employment decisions that she alleges were

  pretextual and that those decisions were actually motivated by retaliatory animus. 4


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    In connection with one aspect of her discrimination and retaliation claims, Babb argues—in a
  single page at the end of her brief—that the district court applied the wrong legal standard.


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         Babb points to the same adverse employment actions in her retaliation

  claims as she did in her age discrimination claims. As explained above—and for

  the same reasons—Babb has failed to demonstrate that the Secretary’s proffered

  nondiscriminatory reasons for making each employment decision were pretextual.

  Just as Babb’s age discrimination claims fail because Babb has failed to show that

  the Secretary’s nondiscriminatory reason for the action was pretextual, Babb’s

  retaliation claims similarly fail. We affirm the district court’s order of summary

  judgment in favor of the Secretary on Babb’s retaliation claims.

                                                  D

         Finally, Babb claims that the district court erred in granting summary

  judgment for the Secretary on her hostile-work-environment claim. We disagree;

  summary judgment was proper.


  Specifically, in rejecting Babb’s argument that she had established pretext based, in part, on the
  superiority of her own qualifications for an anticoagulation position vis-à-vis those of the two
  individuals who were ultimately hired, the district court referred to a since-rejected
  colloquialism—“that the inquiry is not who was a better candidate for the position, but rather
  whether the discrepancy is ‘so apparent as to virtually jump off the page and slap you in the
  face.’” DE 83 at 31 (quoting Cofield v. Goldkist, Inc., 267 F.3d 1264, 1268 (11th Cir. 2001));
  see also Ash v. Tyson Foods, Inc., 546 U.S. 454, 456–57 (2006) (rejecting the “slap you in the
  face” standard as “imprecise” and “unhelpful”). Here, though, the district court also (and more
  precisely and helpfully) described Babb’s argument as being “that a reasonable employer could
  not have chosen” either of the other two individuals over her—a standard that the Supreme Court
  seems to have blessed, see Ash, 546 U.S. at 457, and that we have since approved and applied,
  see Kidd v. Mando American Corp., 731 F.3d 1196, 1206 (11th Cir. 2013). Babb does not
  dispute the validity of the “reasonable employer” standard, nor does she deny (1) that the
  selected candidates scored highest during the interview for the anticoagulation position, (2) that
  she used coarse language and criticized other providers during the interview, or (3) that the
  interview, by her own admission, was “the worst interview of [her] life.” Under the
  circumstances, we think it clear that the district court’s error, if any, was harmless.


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        “A hostile work environment claim under Title VII is established upon proof

  that ‘the workplace is permeated with discriminatory intimidation, ridicule, and

  insult, that is sufficiently severe or pervasive to alter the conditions of the victim’s

  employment and create an abusive working environment.’” Miller v. Kenworth of

  Dothan, Inc., 277 F.3d 1269, 1275 (11th Cir. 2002). “In evaluating the objective

  severity of the harassment, this court looks at the totality of the circumstances and

  considers, among other things: (1) the frequency of the conduct, (2) the severity of

  the conduct, (3) whether the conduct is physically threatening or humiliating, or a

  mere offensive utterance, and (4) whether the conduct unreasonably interferes with

  employee’s job performance.” Gowski v. Peake, 682 F.3d 1299,1312 (11th Cir.

  2012). The district court here correctly concluded that Babb failed to allege an

  objectively hostile environment so filled with intimidation and ridicule that it was

  sufficiently severe or pervasive to alter her working conditions. Id. at 1313.

        In support of her hostile-work-environment claim, Babb points to many of

  the same pieces of evidence that she invokes in connection with her discrimination

  and retaliation claims—e.g., the removal of her advanced scope, the denial of her

  request for anticoagulation training, the fact that she was not hired for the

  anticoagulation position for which she applied. In addition, she points to three

  remarks made to her that, she says, pertained to her age, gender, or protected

  activity: (1) one pharmacy administrator once asked her, “When do you retire?”;


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  (2) another once referred to “Magic Mike” as a “middle-aged woman movie” while

  speaking to Babb; and (3) the same called her a “mow mow” (which Babb

  interpreted as “a grandma comment”) during an investigation of a vulgar email.

         Babb has not raised a genuine issue of material fact regarding her hostile-

  work-environment claim. Her allegations pale in comparison to the sort of conduct

  that this Court has deemed sufficiently “severe and pervasive” to create an

  objectively abusive environment. See, e.g., Reeves v. C.H. Robinson Worldwide,

  Inc., 594 F.3d 798, 811–14 (11th Cir. 2010) (plaintiff’s coworkers made gender-

  specific derogatory comments and showed plaintiff pornography); Johnson v.

  Booker T. Washington Broad. Serv., Inc., 234 F.3d 501, 509 (11th Cir. 2000)

  (supervisor gave plaintiff unwanted massages and stood so close that his body

  parts touched her). Given the facts alleged by Babb, the district court correctly

  ruled that her hostile-work-environment claim failed as a matter of law.5

                                               IV

         For the foregoing reasons, we affirm the district court’s grant of summary

  judgment on Babb’s ADEA age-discrimination claim, Title VII retaliation claim,

  and hostile-work-environment claim. We reverse the district court’s grant of



  5
   We have not decided whether hostile-work-environment claims are cognizable under the
  ADEA. We need not do so, because even if such claims are cognizable as a general matter,
  Babb’s claim here fails as a matter of law.


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  summary judgment on Babb’s Title VII gender-discrimination claim and remand

  for consideration under the “motivating-factor” standard.

        AFFIRMED in part; REVERSED and REMANDED in part.




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                                       UNITED STATES COURT OF APPEALS
                                          FOR THE ELEVENTH CIRCUIT

                                         ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                       56 Forsyth Street, N.W.
                                                       Atlanta, Georgia 30303


  David J. Smith                                                                                            For rules and forms visit
  Clerk of Court                                                                                            www.ca11.uscourts.gov

                                                        July 16, 2018

  MEMORANDUM TO COUNSEL OR PARTIES

  Appeal Number: 16-16492-FF
  Case Style: Noris Babb v. Secretary, Department of Veter
  District Court Docket No: 8:14-cv-01732-VMC-TBM

  This Court requires all counsel to file documents electronically using the Electronic Case Files ("ECF")
  system, unless exempted for good cause. Enclosed is a copy of the court's decision filed today in this appeal.
  Judgment has this day been entered pursuant to FRAP 36. The court's mandate will issue at a later date in
  accordance with FRAP 41(b).

  The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for filing a petition for
  rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise provided by FRAP 25(a) for inmate filings,
  a petition for rehearing or for rehearing en banc is timely only if received in the clerk's office within the time
  specified in the rules. Costs are governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a
  motion for attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

  Please note that a petition for rehearing en banc must include in the Certificate of Interested Persons a complete list
  of all persons and entities listed on all certificates previously filed by any party in the appeal. See 11th Cir. R. 26.1-
  1. In addition, a copy of the opinion sought to be reheard must be included in any petition for rehearing or petition
  for rehearing en banc. See 11th Cir. R. 35-5(k) and 40-1 .

  Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming compensation for time
  spent on the appeal no later than 60 days after either issuance of mandate or filing with the U.S. Supreme Court of a
  petition for writ of certiorari (whichever is later) via the eVoucher system. Please contact the CJA Team at (404)
  335-6167 or cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher system.

  Pursuant to Fed.R.App.P. 39, each party to bear own costs.

  For questions concerning the issuance of the decision of this court, please call the number referenced in the signature
  block below. For all other questions, please call Janet K. Mohler, FF at (404) 335-6178.

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Jeff R. Patch
  Phone #: 404-335-6161

                                                                                OPIN-1A Issuance of Opinion With Costs
